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wESTERN DISTRICT on TENNESSEE "`“"- ‘C'
Eastern Division 05 AUG ___5 P
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uN1TE1) sTATEs oF AMERlCA
_vs_ ease No. lzoscriiitisa`-”iiozr

FRANKIE MILLER

 

ORDER OF TEMPORARY DETENTION
PENDING HEARlNG' PURSUANT TO
BAIL REFORM ACT

Upon motion ot` the Government, it is ORDERED that a detention hearing is set for
MONDAY, AUGUST 8, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, lt l
South Highland, Jacl<son, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced t`or the hearing

Date: AugustS,ZOOS /7»- .
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S. THOMAS A`NDERSON
UNITED STATES MAGISTRATE JUDGE

 

llt"not held immediately upon det`endanl's first appearance, the hearing may be continued for up to three days upon
motion ol`the government1 or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are present Subsection (l)sets t`orth
the grounds that may be asserted only by the attorney For the government subsection (2) states that a hearing is mandated
upon the motion of the attorney t`or the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will i"lee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 470(8155)Orderof1'empcrary Detent\on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

